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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BEVERLY MILLER                                      CIVIL ACTION

                         v.                        NO. 17-5116

TRANS UNION, LLC


                                              ORDER

          AND NOW, this gth day of May 2018, it having been reported the above captioned

    matter is settled, it is ORDERED:

          1.       This action is DISMISSED under agreement of counsel and Local Rule of Civil

Procedure 41.1(b) 1; and,

          2.       The Clerk of Court shall mark this matter CLOSED.




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    Local Rule 41.l(b) provides:

         [a]ny such order of dismissal may be vacated, modified, or stricken from the
         record, for cause shown, upon the application of any party served within ninety
         (90) days of the entry of such order of dismissal, provided the application of the
         ninety-day time limitation is consistent with Federal Rule of Civil Procedure
         60(c).
